889 F.2d 1087
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Robert Allen GALLAGHER, Plaintiff-Appellant,v.MORROW COUNTY LAW LIBRARY ASSOCIATION, Tom Elkin,Defendants-Appellees.
    No. 89-3747.
    United States Court of Appeals, Sixth Circuit.
    Nov. 21, 1989.
    
      1
      Before MERRITT, Chief Judge, KENNEDY, Circuit Judge, and R. ALLAN EDGAR, District Judge*.
    
    ORDER
    
      2
      This matter is before the court upon consideration of the appellant's response to this court's September 15, 1989, order directing him to show cause why his appeal should not be dismissed for lack of jurisdiction because of a late notice of appeal.  Appellant states that he has limited access to a library and has a limited education.
    
    
      3
      It appears from the record that the judgment was entered July 3, 1989.  The notice of appeal filed on August 15, 1989, was thirteen days late.  Fed.R.App.P. 4(a) and 26(a).
    
    
      4
      The failure of an appellant to timely file a notice of appeal deprives an appellate court of jurisdiction.  Compliance with Fed.R.App.P. 4(a) is a mandatory and jurisdictional prerequisite which this court can neither waive nor extend.    Baker v. Raulie, 879 F.2d 1396, 1398 (6th Cir.1989) (per curiam);  McMillan v. Barksdale, 823 F.2d 981, 982 (6th Cir.1987);  Myers v. Ace Hardware, Inc., 777 F.2d 1099, 1102 (6th Cir.1985);  Denley v. Shearson/American Express, Inc., 733 F.2d 39, 41 (6th Cir.1984) (per curiam);  Peake v. First Nat'l Bank &amp; Trust Co., 717 F.2d 1016, 1018 (6th Cir.1983).  Fed.R.App.P. 26(b) specifically provides that this court cannot enlarge the time for filing a notice of appeal.
    
    
      5
      Accordingly, it is ORDERED that the appeal be, and it hereby is, dismissed for lack of jurisdiction.  Rule 9(b)(1), Rules of the Sixth Circuit.
    
    
      
        *
         The Honorable R. Allan Edgar, U.S. District Judge for the Eastern District of Tennessee, sitting by designation
      
    
    